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     Caption in Compliance with D.N.J. LBR 9004-1(b)
         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
                                                                                       Order Filed on November 20, 2023
         In re:                                                                        by Clerk
                                                                            Chapter 11 U.S. Bankruptcy Court
                                                                                       District of New Jersey
         RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                            Debtors. 1                      (Jointly Administered)


                           ORDER (I) AUTHORIZING AND
             APPROVING PROCEDURES TO REJECT OR ASSUME EXECUTORY
         CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

                  The relief set forth on the following pages, numbered three (3) through fourteen (14), is

     ORDERED.




DATED: November 20, 2023




     1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
            Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
            website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
            The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
            these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP
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 Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Aparna Yenamandra, P.C. (admitted pro hac vice)
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 Proposed Co-Counsel to the Debtors and Debtors in Possession




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 Debtors:                 RITE AID CORPORATION, et al.
 Case No.                 23-18993 (MBK)
 Caption of Order:        Order (I) Authorizing and Approving Procedures to Reject or Assume
                          Executory Contracts and Unexpired Leases and (II) Granting Related Relief

         Upon the Debtors’ Motion for Entry of an Order (I) Authorizing and Approving Procedures

 to Reject or Assume Executory Contracts and Unexpired Leases and (II) Granting Related Relief

 (the “Motion”), 1 of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”), for entry of an order (this “Order”) (a) authorizing and approving procedures

 (as described in the Motion, the “Contract Procedures”) for rejecting, assuming, or assuming and

 assigning executory contracts and unexpired leases and (b) granting related relief, all as more fully

 set forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered July 23, 1984, and amended on September 18,

 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion

 in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

 the Debtors’ notice of the Motion was appropriate under the circumstances and no other notice

 need be provided; and this Court having reviewed the Motion and having heard the statements in

 support of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court

 having determined that the legal and factual bases set forth in the Motion establish just cause for

 the relief granted herein; and upon all of the proceedings had before the Court and after due

 deliberation and sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

         1.       The Motion is GRANTED as set forth herein.




 1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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 Caption of Order:   Order (I) Authorizing and Approving Procedures to Reject or Assume
                     Executory Contracts and Unexpired Leases and (II) Granting Related Relief

        2.     The following Rejection Procedures are approved in connection with rejecting

 Contracts:

               a.    Rejection Notice. The Debtors, upon not less than five days’ advance notice
                     to advisors to the Ad Hoc Secured Noteholder Group, counsel to the Official
                     Committee of Unsecured Creditors, counsel to the Official Committee of
                     Tort Claimants, and counsel to the DIP Agents, absent exigent
                     circumstances that require shorter notice in the Debtors’ reasonable
                     discretion, shall file a notice substantially in the form attached to this Order
                     as Exhibit 1 (the “Rejection Notice”) indicating the Debtors’ intent to reject
                     a Contract or Contracts pursuant to section 365 of the Bankruptcy Code,
                     which Rejection Notice shall set forth, among other things: (i) the Contract
                     or Contracts to be rejected; (ii) the Debtor or Debtors party to such Contract;
                     (iii) the names and addresses of the counterparties to such Contract(s) (each
                     a “Rejection Counterparty”); (iv) the store number and address of the
                     affected location, if applicable (v) the proposed effective date of the
                     rejection for each such Contract, which for leases shall be the later of (a) the
                     proposed effective date set forth on the Rejection Notice; and (b) the date
                     the Debtors relinquish control of the premises by (1) notifying the affected
                     landlord in writing, with email being sufficient, of the Debtors’ surrender
                     of the premises and turning over keys, key codes, and security codes, if any,
                     to the affected landlord or (2) notifying the affected landlord in writing, with
                     email being sufficient, that the keys, key codes, and security codes, if any,
                     are not available, but that the landlord may rekey the leased premises (each
                     a “Rejection Date”); (vi) if any such Contract is a lease, the personal
                     property to be abandoned (the “Abandoned Property”), if any, and if
                     practicable an estimate of the book value of such property; (vii) with respect
                     to real property, any known third party having an interest in any remaining
                     property, including personal property, furniture, fixtures, and equipment
                     located at the leased premises; and (viii) the deadlines and procedures for
                     filing objections to the Rejection Notice (as set forth below). The Rejection
                     Notice may list multiple Contracts; provided that the number of
                     counterparties to Contracts listed on the Rejection Notice shall be limited to
                     no more than 100 and the Rejection Counterparties shall be listed in
                     alphabetical order. Further, the Rejection Notice shall include the proposed
                     form of order (the “Rejection Order”) approving the rejection of the
                     Contracts, which shall be substantially in the form of Exhibit 1-A to the
                     Rejection Notice. No Contract shall be deemed rejected absent entry of an
                     applicable Rejection Order.

               b.    Service of the Rejection Notice. No later than two business days after
                     filing, or as soon as reasonably practicable thereafter, the Debtors will cause


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                          the Rejection Notice to be served (i) by overnight delivery service upon the
                          Rejection Counterparties affected by the Rejection Notice at the notice
                          address provided in the applicable Contract (and their counsel, if known)
                          and all parties who may have any interest in any Abandoned Property (if
                          known), and (ii) by first class mail, email, or fax upon: (a) the office of the
                          United States Trustee for the District of New Jersey; (b) the Debtors’ 50
                          largest unsecured creditors (on a consolidated basis); (c) the agents under
                          the Prepetition Credit Facilities and counsel thereto; (d) the DIP Agents and
                          counsel thereto; (e) counsel to the Ad Hoc Secured Noteholder Group;
                          (f) the indenture trustee to the Senior Secured Notes; (g) the indenture
                          trustee to the Senior Unsecured Notes; (h) the Official Committee of
                          Unsecured Creditors and counsel thereto; (i) the Official Committee of Tort
                          Claimants and counsel thereto; (j) the United States Attorney’s Office for
                          the District of New Jersey; (k) the Internal Revenue Service; (l) the U.S.
                          Securities and Exchange Commission; (m) the attorneys general in the
                          states where the Debtors conduct their business operations; (n) the parties
                          affected by the Rejection Notice at the notice party provided in the
                          applicable Contract (and by email upon such Rejection Counterparty’s
                          counsel, if known); and (o) any party that has requested notice pursuant to
                          Bankruptcy Rule 2002 (collectively, the “Service Parties”).

                  c.      Objection Procedures. Parties objecting to a proposed rejection must file
                          and serve a written objection 2 so that such objection is filed with the Court
                          and actually received by the following parties no later than ten days after
                          the date the Debtors file and serve the applicable Rejection Notice
                          (the “Rejection Objection Deadline”):          (a) the Debtors, Rite Aid
                          Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania
                          19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601
                          Lexington Avenue, New York, New York 10022, Attn: Joshua A.
                          Sussberg, P.C., Aparna Yenamandra, P.C., Ross J. Fiedler, and Zachary R.
                          Manning; (c) proposed co-counsel to the Debtors, Cole Schotz P.C., Court
                          Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn:
                          Michael D. Sirota, Felice R. Yudkin, and Seth Van Aalten; (d) the
                          applicable Rejection Counterparty; (e) counsel to the Ad Hoc Secured
                          Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285
                          Avenue of the Americas, New York, New York 10014, Attn: Andrew N.
                          Rosenberg      (arosenberg@paulweiss.com),          Brian      S.    Hermann
                          (bhermann@paulweiss.com),             and        Christopher          Hopkins
                          (chopkins@paulweiss.com); (f) counsel to the Ad Hoc Secured Noteholder
                          Group, Fox Rothschild LLP, 49 Market Street, Morristown, New Jersey

 2   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
     objection to the rejection of any other Contract listed on such Rejection Notice.



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                     07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J.
                     DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
                     (mherz@foxrothschild.com); (g) counsel to the DIP Agents, Choate, Hall
                     & Stewart LLP, Two International Place, Boston, MA 02110, Attn: John
                     F.     Ventola     (jventola@choate.com);     Jonathan     D.    Marshall
                     (jmarshall@choate.com); and Mark D. Silva (msilva@choate.com) and
                     Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park, New
                     Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N.
                     Pinkas (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for
                     the District of New Jersey, One Newark Center, 1085 Raymond Boulevard,
                     suite 2100, Newark, New Jersey 07102, Attn: Jeffrey M. Sponder
                     (jeffrey.m.sponder@usdoj.gov)          and         Lauren         Bielskie
                     (lauren.bielskie@usdoj.gov); and (i) counsel to the Official Committee of
                     Unsecured Creditors, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue
                     of the Americas, New York, New York 10036, Attn: Adam Rogoff
                     (ARogoff@kramerlevin.com) and Nancy Bello (nbello@kramerlevin.com)
                     and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,
                     Parsippany, NJ 07054, Attn: Robert LeHane (rlehane@kelleydrye.com)
                     and Connie Choe (cchoe@kelleydrye.com); (j) counsel to the Official
                     Committee of Tort Claimants, Akin Gump Strauss Hauer & Feld LLP, One
                     Bryant Park, New York, New York 10036, Attn:                   Arik Preis
                     (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com),
                     Kate Doorley (kdoorley@akingump.com), Theodore James Salwen
                     (jsalwen@akingump.com) and Brooks Barker (bbarker@akingump.com);
                     and (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A., 308 Harper
                     Drive Suite 200, Moorestown, New Jersey 08057, Attn: Arthur
                     Abramowitz (aabramowitz@shermansilverstein.com) and Ross Switkes
                     (rswitkes@shermansilverstein.com) (collectively, the “Objection Service
                     Parties”).

               d.    No Objection Timely Filed. If no objection to the rejection of any Contract
                     is timely filed, the Debtors shall file a Rejection Order under a certificate of
                     no objection. The rejection of each Contract listed in the applicable
                     Rejection Notice shall be rejected as of the applicable Rejection Date set
                     forth in the Rejection Notice or such other date as the Debtors and the
                     applicable Rejection Counterparty agree; provided that the Rejection Date
                     for a rejection of a lease of nonresidential real property shall not occur until
                     the later of (i) the Rejection Date set forth in the Rejection Notice and
                     (ii) the date the Debtors relinquish control of the premises by (A) notifying
                     the affected landlord in writing, with email being sufficient, of the Debtors’
                     surrender of the premises and turning over keys, key codes, and security
                     codes, if any, to the affected landlord or (B) notifying the affected landlord
                     in writing, with email being sufficient, of the Debtors’ surrender of the


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                     premises that the keys, key codes, and security codes, if any, are not
                     available, but the landlord may rekey the leased premises; provided, further,
                     that the Rejection Date for a rejection of a lease of nonresidential real
                     property rejected pursuant to these Rejection Procedures shall not occur
                     earlier than the date the Debtors filed and served the applicable Rejection
                     Notice.

               e.    Unresolved Timely Objections. If an objection to the rejection of any
                     Contract(s) listed in the applicable Rejection Notice is timely filed and
                     properly served as specified above and not withdrawn or consensually
                     resolved, the Debtors shall file a notice for a hearing to be held on not less
                     than ten days’ notice to the applicable Rejection Counterparty and
                     Objection Service Parties to consider the objection for the Contract(s) to
                     which such objection relates. Such Contract will only be deemed rejected
                     upon entry by the Court of a consensual form of Rejection Order resolving
                     the objection as between the objecting party and the Debtors or, if resolution
                     is not reached and/or the objection is not withdrawn, upon further order of
                     the Court and shall be rejected as of the applicable Rejection Date set forth
                     in the Rejection Notice or such other date to which the Debtors and the
                     applicable Rejection Counterparty agree, or as ordered by the Court.

               f.    No Application of Security Deposits. If the Debtors have deposited monies
                     with a Rejection Counterparty as a security deposit or other arrangement,
                     such Rejection Counterparty may not setoff, recoup, or otherwise use such
                     monies without further order of the Court, unless the Debtors and the
                     applicable Rejection Counterparty to such Contract(s) otherwise agree.

               g.    Abandoned Property. The Debtors are authorized, but not directed, at any
                     time on or before the applicable Rejection Date, to remove or abandon any
                     of the Debtors’ personal property that may be located on the Debtors’ leased
                     premises that are subject to a rejected Contract; provided, however, that
                     (i) nothing shall modify any requirement under applicable law with respect
                     to the removal of any hazardous materials as defined under the applicable
                     law from any of the Debtors’ leased premises, (ii) to the extent the Debtors
                     seek to abandon personal property that contains “personally identifiable
                     information,” as that term is defined in section 101(41A) of the Bankruptcy
                     Code (the “PII”), the Debtors shall remove the PII from such personal
                     property before abandonment, and (iii) the Debtors shall not abandon any
                     medications or medicines. If the Debtors decide to abandon any personal
                     property, the Debtors shall generally describe the abandoned personal
                     property in the Rejection Notice. Absent a timely objection, the property
                     will be deemed abandoned pursuant to section 554 of the Bankruptcy Code,
                     as is, effective as of the Rejection Date. For the avoidance of doubt, any



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                      and all property located on the Debtors’ leased premises on the Rejection
                      Date of the applicable lease of nonresidential real property shall be deemed
                      abandoned pursuant to section 554 of the Bankruptcy Code, as is, effective
                      as of the Rejection Date. Landlords may, in their sole discretion and without
                      further notice or order of this Court, utilize and/or dispose of such property
                      without notice or liability to the Debtors or third parties and, to the extent
                      applicable, the automatic stay is modified to allow such disposition.

               h.     Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                      must be filed on or before the later of (i) the deadline for filing proofs of
                      claim established in these chapter 11 cases, if any, and (ii) thirty days after
                      the later of (A) the date of entry of the Rejection Order approving rejection
                      of the applicable Contract, and (b) the Rejection Date. If no proof of claim
                      is timely filed, such claimant shall be forever barred from asserting a claim
                      for damages arising from the rejection and from participating in any
                      distributions on such a claim that may be made in connection with these
                      chapter 11 cases.

               i.     Removal from the Rejection Notice. The Debtors reserve the right to
                      remove any Contract from the schedule to a Rejection Notice at any time
                      prior to the Rejection Date, but shall provide any affected Rejection
                      Counterparty and the Objection Service Parties notice of removal of any
                      Contract from the Rejection Notice within two business days of any such
                      change, provided that the Debtors shall not remove any Contract from the
                      schedule to a Rejection Notice if they have relinquished control of the
                      premises by notifying the affected landlord in writing, with email being
                      sufficient, of the Debtors’ surrender of the premises as described above and
                      (a) turn over keys, key codes, and security codes, if any, to the affected
                      landlord or (b) notify the affected landlord in writing, with email being
                      sufficient, that the keys, key codes, and security codes, if any, are not
                      available, but the landlord may rekey the leases premises.

        3.     The following Assumption Procedures are approved in connection with assuming

 and assuming and assigning Contracts:

               a.     Assumption Notice. The Debtors, upon not less than five days’ advance
                      notice to advisors to the Ad Hoc Secured Noteholder Group, counsel to the
                      Official Committee of Unsecured Creditors, counsel to the Official
                      Committee of Tort Claimants, and counsel to the DIP Agents, absent
                      exigent circumstances that require shorter notice in the Debtors’ reasonable
                      discretion, shall file a notice substantially in the form attached hereto as
                      Exhibit 2 (the “Assumption Notice”) indicating the Debtors’ intent to



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                         assume or assume and assign a Contract or Contracts pursuant to section
                         365 of the Bankruptcy Code, which shall set forth, among other things:
                         (i) the Contract or Contracts to be assumed or assumed and assigned;
                         (ii) the names and addresses of the counterparties to such Contract(s) (each
                         an “Assumption Counterparty”); (iii) the Debtor or Debtors party to such
                         Contract; (iv) the store number and address of the affected location, if
                         applicable; (v) the identity of the proposed assignee of such Contracts
                         (the “Assignee”), if applicable; (vi) the proposed effective date of the
                         assumption for each such Contract (the “Assumption Date”); (vii) the
                         proposed cure amount, if any, for each such Contract; (viii) a description of
                         any material amendments to the Contract made with the prior consent and
                         written agreement of the applicable Assumption Counterparty outside of the
                         ordinary course of business; and (ix) the deadlines and procedures for filing
                         objections to the Assumption Notice (as set forth below). The Assumption
                         Notice may list multiple Contracts; provided that the number of
                         counterparties to Contracts listed on the Assumption Notice shall be limited
                         to no more than 100 and the Assumption Counterparties shall be listed in
                         alphabetical order. Further, the Assumption Notice shall include the
                         proposed form of order (the “Assumption Order”) approving the
                         assumption or assumption and assignment of the Contracts, which shall be
                         substantially in the form of Exhibit 1 to the Assumption Notice. No
                         Contract shall be deemed assumed or assumed and assigned absent entry of
                         an applicable Assumption Order.

                 b.      Service of the Assumption Notice and Evidence of Adequate Assurance.
                         No later than two business days after filing, or as soon as reasonably
                         practicable thereafter, the Debtors will cause the Assumption Notice to be
                         served (i) by overnight delivery service upon the Assumption
                         Counterparties affected by the Assumption Notice and each Assignee, if
                         applicable, at the address set forth in the notice provision of the applicable
                         Contract (and their counsel, if known) and (ii) by first class mail, email, or
                         fax upon the Service Parties. To the extent the Debtors seek to assume or
                         assume and assign a Contract, the Debtors will cause evidence of adequate
                         assurance of future performance to be served with the Assumption Notice
                         by overnight delivery service upon the Assumption Counterparties affected
                         by the Assumption Notice at the address set forth in the notice provision of
                         the applicable Contract (and their counsel, if known, by electronic mail). 3


 3   Adequate assurance information may include: (i) the specific name of the proposed assignee, and the
     proposed name under which the proposed assignee intends to operate the store if not the current
     trade-name of the Debtors; (ii) a corporate organizational chart or similar disclosure identifying
     ownership and control of the proposed assignee of the applicable contracts and leases; (iii) audited or
                                                                                                (Continued)


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                  c.       Objection Procedures. Parties objecting to a proposed assumption or
                           assumption and assignment (including as to the cure amount), as applicable,
                           of a Contract must file and serve a written objection 4 so that such objection
                           is filed with the Court and actually received by the Objection Service
                           Parties no later than ten days after the date the Debtors file and serve the
                           relevant Assumption Notice (the “Assumption Objection Deadline”).

                  d.       No Objection. If no objection to the assumption or assumption and
                           assignment of any Contract is timely filed the Debtors shall file an
                           Assumption Order under a certificate of no objection. The assumption of
                           each Contract shall be assumed or assumed and assigned as of the
                           Assumption Date set forth in the applicable Assumption Notice or such
                           other date as the Debtors and the Assumption Counterparties agree and the
                           proposed cure amount shall be binding on all counterparties to such
                           Contract and no amount in excess thereof shall be paid for cure purposes;
                           provided that the Assumption Date for a lease of nonresidential real
                           property shall not occur earlier than the date the Debtors filed and served
                           the applicable Assumption Notice.

                  e.       Unresolved Timely Objections. If an objection to the assumption or
                           assumption and assignment of any Contract(s) listed in the applicable
                           Assumption Notice is timely filed and properly served as specified above
                           and not withdrawn or consensually resolved, the Debtors shall file a notice
                           for a hearing to be held on not less than ten days’ notice to the applicable
                           Assumption Counterparty and Objection Service Parties to consider the
                           objection for the Contract(s) to which such objection relates. The Debtors
                           may adjourn the hearing to a later date from time to time upon filing an
                           amended notice of hearing. Such Contract will only be deemed assumed or
                           assumed and assigned upon entry by the Court of a consensual form of
                           Assumption Order resolving the objection as between the objecting party
                           and the Debtors or, if resolution is not reached and/or the objection is not
                           withdrawn, upon further order of the Court and shall be assumed or assumed
                           and assigned as of the applicable Assumption Date set forth in the


     unaudited financial statements, tax returns, bank account statements, or annual reports; (iv) financial
     projections, calculations, and/or financial pro-formas prepared in contemplation of purchasing the
     applicable Contracts; (v) the proposed assignee’s intended use of the leased premises and a description
     of the proposed business to be conducted at the premises; (vi) the proposed assignee’s experience in
     retail and in operating in a shopping center, if applicable; (vii) a contact person for the proposed
     assignee; and/or (viii) any other documentation that the Debtors may further request.
 4   An objection to the assumption of any particular Contract listed on the Assumption Notice shall not constitute an
     objection to the assumption of any other Contract listed on such Assumption Notice.



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                        Assumption Notice or such other date to which the Debtors and the
                        applicable Assumption Counterparty agree, or as ordered by the Court.

                f.      Modifications of Assumption Notice. The Debtors reserve the right to
                        remove any Contract from an Assumption Notice at any time prior to the
                        entry of the Assumption Order (including, without limitation, upon the
                        failure of any proposed assumption and assignment to close).

        4.      The Debtors’ right to assert that any provisions in a Contract that expressly or

 effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of the

 Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved.

        5.      Notwithstanding the foregoing, the Debtors’ abandonment of their interests in any

 equipment or other Personal Property belonging to PepsiCo, Inc. its affiliates, or affiliated bottlers

 (collectively, the “Pepsi Entities”) shall not sever or otherwise impact any ownership interest of

 the Pepsi Entities in any equipment or Personal Property being abandoned.

        6.      Notwithstanding anything to the contrary in this Order, the Debtors are not

 authorized to, and shall not, sell or abandon the modems, ACA equipment (an electronic device

 used in the provision of voice over internet phone services), and any other equipment provided to

 the Debtors by Comcast Cable Communications Management, LLC and its affiliates or authorized

 contractors (collectively, “Comcast”) but excluding any inside wiring located in the Debtors’

 leased premises and headquarters (the “Comcast Equipment”). Further, both Comcast and the

 Debtors are authorized to continue the existing Comcast Equipment return process in the ordinary

 course, provided that in the event the Debtors seek to terminate Comcast services at a location, the

 Debtors or their agent will notify Comcast by email to MES_CARE@comcast.com and

 roglenl@ballardspahr.com with a copy to proposed counsel to the Debtors.




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 Debtors:               RITE AID CORPORATION, et al.
 Case No.               23-18993 (MBK)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject or Assume
                        Executory Contracts and Unexpired Leases and (II) Granting Related Relief

        7.      Nothing in this Order shall affect or otherwise limit or relieve the Debtors from

 their obligations with respect to (a) that certain Western Union North America Agency Agreement

 (the “Agency Agreement”) between certain of the Debtor parties and Western Union Financial

 Services, Inc. (“Western Union”), and (b) Western Union’s property described under the Agency

 Agreement, including, but to not limited to, the Equipment (as defined in the Agency Agreement);

 provided that the Debtors shall dispose of or return Western Union’s property and Equipment in a

 manner as is mutually agreed to between the Debtors and Western Union in writing, with email

 being sufficient. Western Union’s right to assert an administrative expense claim to the extent the

 Debtors sell, abandon, or otherwise misplace Western Union’s property being held or controlled

 by the Debtors pursuant to the Agency Agreement, including the Equipment, or Western Union is

 otherwise damaged by the Debtors’ breach of its obligations to return or destroy Equipment in

 accordance with the Agency Agreement, is preserved and reserved. Furthermore, nothing in this

 Order shall alter the parties’ rights and obligations under the Agency Agreement and the

 Bankruptcy Code.

        8.      Approval of the Contract Procedures and this Order will not prevent the Debtors

 from seeking to reject, assume, or assume and assign a Contract by separate motion or pursuant to

 a chapter 11 plan; provided that the Debtors shall provide at least five days’ advance notice to the

 advisors to the Ad Hoc Secured Noteholder Group and counsel to the DIP Agents prior to filing

 any motion or plan supplement seeking to reject, assume, or assume and assign a Contract to the

 extent practicable.

        9.      All rights and defenses of the Debtors are preserved, including all rights and

 defenses of the Debtors with respect to a claim for damages arising as a result of a Contract


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 Debtors:               RITE AID CORPORATION, et al.
 Case No.               23-18993 (MBK)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject or Assume
                        Executory Contracts and Unexpired Leases and (II) Granting Related Relief

 rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

 addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently assert

 that any particular Contract is expired or terminated and is no longer an executory contract or

 unexpired lease, respectively.

        10.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

 such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for,

 or validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

 nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

 any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

 admission that any particular claim is of a type specified or defined in the Motion or this Order or

 a finding that any particular claim is an administrative expense claim or other priority claim;

 (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

 to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability,

 or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

 estates; (g) a waiver or limitation of the Debtors’ or any other party in interest’s rights under

 the Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors that any liens

 (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief

 authorized in this Order are valid, and the rights of all parties in interest are expressly reserved to

 contest the extent, validity, or perfection or seek avoidance of all such liens.

        11.     Notwithstanding anything to the contrary in the Motion or this Order, any payment

 made by the Debtors pursuant to the authority granted in this Order must be in compliance with

 and any authorization of the Debtors contained herein is subject to: (a) any interim or final orders


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 Debtors:               RITE AID CORPORATION, et al.
 Case No.               23-18993 (MBK)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject or Assume
                        Executory Contracts and Unexpired Leases and (II) Granting Related Relief

 entered by the Court approving the Debtors’ entry into any postpetition debtor-in-possession

 financing facility and/or authorizing the use of cash collateral; (b) the documentation in respect of

 any such debtor-in-possession financing or use of cash collateral; and (c) any budget or cash flow

 forecasts in connection therewith (in each case, the “DIP Order”).

        12.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

 Local Rules are satisfied by such notice.

        13.     The requirement set forth in Local Rule 9013 1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        14.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

        15.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Motion.

        16.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                    Exhibit 1

                            Proposed Rejection Notice
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     KIRKLAND & ELLIS LLP                                     COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                                 Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)         Felice R. Yudkin, Esq.
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     Ross J. Fiedler (admitted pro hac vice)                  Court Plaza North, 25 Main Street
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     New York, New York 10022
                                                              msirota@coleschotz.com
     Telephone: (212) 446-4800
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     Facsimile: (212) 446-4900
     esassower@kirkland.com                                   fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                             svanaalten@coleschotz.com
     aparna.yenamandra@kirkland.com
     ross.fiedler@kirkland.com
     zach.manning@kirkland.com                                Proposed Co-Counsel to the Debtors and
                                                              Debtors in Possession

     Proposed Co-Counsel to the Debtors and
     Debtors in Possession


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors. 1               (Jointly Administered)



                            NOTICE OF REJECTION OF
             CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
 CONTENTS OF THIS NOTICE CAREFULLY.




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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         PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

 related relief [Docket No. ____] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

 in the exercise of their business judgment, that each Contract set forth on Schedule 1 attached

 hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth on Schedule 1 or

 such other date to which the Debtors and the counterparty or counterparties to any such Contract

 agree. For unexpired leases, the rejection effective date shall be the later of (a) the proposed

 effective date set forth on the Rejection Notice; and (b) the date the Debtors relinquish control of

 the premises by (1) notifying the affected landlord in writing, with email being sufficient, of the

 Debtors’ surrender of the premises and turning over keys, key codes, and security codes, if any, to

 the affected landlord or (2) notifying the affected landlord in writing, with email being sufficient,

 that the keys, key codes, and security codes, if any, are not available, but that the landlord may

 rekey the leased premises.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 rejection of any of the Contracts must file and serve a written objection so that such objection is

 filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

 following parties no later than ten days after the date that the Debtors filed and served this Notice:

 (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

 Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,

 Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors, Cole Schotz

 P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael D. Sirota,

 Felice R. Yudkin, and Seth Van Aalten; (d) the applicable Rejection Counterparty; (e) counsel to

 the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285

 Avenue of the Americas, New York, New York 1001 Attn.:                   Andrew N. Rosenberg

 (arosenberg@paulweiss.com), Brian S. Hermann (bhermann@paulweiss.com) and Christopher

 Hopkins (chopkins@paulweiss.com); (f) counsel to the Ad Hoc Secured Noteholder Group, Fox

 Rothschild LLP, 49 Market Street, Morristown, New Jersey, 07960, Attn: Howard A. Cohen

 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and

 Michael R. Herz (mherz@foxrothschild.com); (g) counsel to the DIP Agents, Choate, Hall &

 Stewart LLP, Two International Place, Boston, MA 02110, Attn:                   John F. Ventola

 (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com); and Mark D. Silva

 (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park,

 New Jersey 07932, Attn:        Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas

 (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for the District of New Jersey,

 One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102, Attn:

 Jeffrey    M.      Sponder      (jeffrey.m.sponder@usdoj.gov)      and      Lauren        Bielskie

 (lauren.bielskie@usdoj.gov); and (i) counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,    Attn:      Adam      Rogoff    (ARogoff@kramerlevin.com)        and     Nancy     Bello

 (nbello@kramerlevin.com) and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,


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 Parsippany, NJ 07054, Attn:             Robert LeHane (rlehane@kelleydrye.com) and Connie Choe

 (cchoe@kelleydrye.com); (j) proposed counsel to the Official Committee of Tort Claimants, Akin

 Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attn: Arik

 Preis (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com), Kate Doorley

 (kdoorley@akingump.com), Theodore James Salwen (jsalwen@akingump.com), and Brooks

 Barker (bbarker@akingump.com); and (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A.,

 457 Haddonfield Rd. #300, Cherry Hill, NJ 08002, Attn;                                   Arthur J. Abramowitz

 (aabramowitz@shermansilverstein.com) and Ross Switkes (rswitkes@shermansilverstein.com).

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

 Debtors shall file a Rejection Order under a certificate of no objection. The rejection of each

 Contract listed in this Rejection Notice shall become effective on the applicable Rejection Date

 set forth on Schedule 1 or such other date to which the Debtors and the counterparty or

 counterparties to such Contract agree. 3

         PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

 Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

 to consider the objection for the Contract or Contracts to which such objection relates. If such

 objection is overruled or withdrawn, such Contract will only be deemed rejected upon entry by the

 Court of a consensual form of Rejection Order resolving the objection as between the objecting

 party and the Debtors or, if resolution is not reached and/or the objection is not withdrawn, upon

 further order of the Court and shall be rejected as of the applicable Rejection Date set forth in the



 3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
     objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
     rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
     directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will
     be effective in accordance with this Rejection Notice and the Order.


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 Rejection Notice or such other date to which the Debtors and the applicable Rejection

 Counterparty agree, or as ordered by the Court.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

 Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

 other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

 monies without further order of the Court, unless the Debtors and the counterparty or

 counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of the Debtors that is listed and described on Schedule 1 shall be deemed abandoned as

 of the Rejection Date. With respect to unexpired leases, on the Rejection Date landlords may, in

 their sole discretion and without further notice or order of the Court, utilize and/or dispose of such

 property without notice or liability to the Debtors or third parties and, to the extent applicable, the

 automatic stay will be modified to allow such disposition.

        PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

 respect to rejection of your Contract or Contracts, you must do so on or before the later of

 (a) the deadline for filing proofs of claim established in these chapter 11 cases, if any, and,

 (b) thirty days after the later of (A) the date of entry of the Rejection Order approving rejection of

 the applicable Contract, and (b) the Rejection Date. IF YOU FAIL TO TIMELY SUBMIT A

 PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE DEADLINE SET FORTH

 HEREIN, YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM

 (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS AND THEIR CHAPTER

 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN

 THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY


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 DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

 CLAIM.




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Dated: [_____], 2023

                                       COLE SCHOTZ P.C.
                                       Michael D. Sirota, Esq.
                                       Warren A. Usatine, Esq.
                                       Felice R. Yudkin, Esq.
                                       Seth Van Aalten, Esq. (admitted pro hac vice)
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                                       Telephone: (201) 489-3000
                                       Email:      msirota@coleschotz.com
                                                   wusatine@coleschotz.com
                                                   fyudkin@coleschotz.com
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                                       Aparna Yenamandra, P.C. (admitted pro hac vice)
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                                                     aparna.yenamandra@kirkland.com
                                                     ross.fiedler@kirkland.com
                                                     zach.manning@kirkland.com

                                       Proposed Co-Counsel to the Debtors and
                                       Debtors in Possession
                                                                          Schedule 1

                                                                    Rejected Contracts 1

     Rejection                                                              Store            Description of           Abandoned
                             Debtor Party         Store Number                                                                               Rejection Date
    Counterparty                                                           Address            Contract 2               Property
                                                                                                                                                                                               Case 23-18993-MBK
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1   For the avoidance of doubt, the Contracts referenced herein include any ancillary documents, including guaranties or assignments thereof, and any amendments,
    modifications, subleases, or termination agreements related thereto.
2   The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
    validity of any claims held by the counterparty or counterparties to such Contract.
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                                   Exhibit 1

                            Proposed Rejection Order
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors. 1                      (Jointly Administered)



              [NUMBER] ORDER APPROVING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED
 LEASES AND THE ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY

              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
        The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
        these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Proposed Co-Counsel to the Debtors and Debtors in Possession




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 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    [Number] Order Approving the Rejection of Certain Executory Contracts
                      and/or Unexpired Leases and the Abandonment of Certain Personal
                      Property, If Any
         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No.___] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served a Rejection Notice on each applicable

 party as set forth in the Rejection Schedule, attached hereto as Exhibit 1, in accordance with the

 terms of the Procedures Order; and no timely objections having been filed to the Rejection of such

 Contracts; and due and proper notice of the Procedures Order and the Rejection Notice having

 been provided to each applicable Rejection Counterparty as set forth in the Rejection Schedule

 and it appearing that no other notice need be provided; and after due deliberation and sufficient

 cause appearing therefor, IT IS HEREBY ORDERED THAT:

         1.       The Contracts listed on the Rejection Schedule attached hereto as Exhibit 1 are

 rejected under section 365 of the Bankruptcy Code effective as of the later of the Rejection Date

 listed on Exhibit 1 or such other date as the Debtors and the applicable Rejection Counterparty

 agrees; provided, that the Rejection Date for a rejection of a lease of nonresidential real property

 shall not occur until the later of (i) the Rejection Date set forth on Exhibit 1 and (ii) the date the



 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.



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 Debtors:              RITE AID CORPORATION, et al.
 Case No.              23-18993 (MBK)
 Caption of Order:     [Number] Order Approving the Rejection of Certain Executory Contracts
                       and/or Unexpired Leases and the Abandonment of Certain Personal
                       Property, If Any
 Debtors relinquish control of the premises by (A) notifying the affected landlord in writing, with

 email being sufficient, of the Debtors’ surrender of the premises and turning over keys, key codes,

 and security codes, if any, to the affected landlord or (B) notifying the affected landlord in writing,

 with email being sufficient, of the Debtors’ surrender of the premises that the keys, key codes, and

 security codes, if any, are not available, but the landlord may rekey the leased premises.

        2.      The Debtors are authorized, but not directed, at any time on or before the applicable

 Rejection Date, to remove or abandon any of the Debtors’ personal property that may be located

 on the Debtors’ leased premises that are subject to a rejected Contract; provided, however, that

 (i) nothing shall modify any requirement under applicable law with respect to the removal of any

 hazardous materials as defined under the applicable law from any of the Debtors’ leased premises,

 (ii) to the extent the Debtors seek to abandon personal property that contains “personally

 identifiable information,” as that term is defined in section 101(41A) of the Bankruptcy Code

 (the “PII”), the Debtors shall remove the PII from such personal property before abandonment,

 and (iii) the Debtors shall not abandon any medications or medicines. The property will be deemed

 abandoned pursuant to section 554 of the Bankruptcy Code, as is, effective as of the Rejection

 Date. For the avoidance of doubt, and absent any sustained objection as it relates to property at a

 particular premises, any and all property located on the Debtors’ leased premises on the Rejection

 Date of the applicable lease of nonresidential real property shall be deemed abandoned pursuant

 to section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may,

 in their sole discretion and without further notice or order of this Court, utilize and/or dispose of

 such property without notice or liability to the Debtors or third parties and, to the extent applicable,

 the automatic stay is modified to allow such disposition.


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 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    [Number] Order Approving the Rejection of Certain Executory Contracts
                      and/or Unexpired Leases and the Abandonment of Certain Personal
                      Property, If Any
        3.      Notwithstanding the foregoing, the Debtors’ abandonment of their interests in any

 equipment or other Personal Property belonging to PepsiCo, Inc. its affiliates, or affiliated bottlers

 (collectively, the “Pepsi Entities”) shall not sever or otherwise impact any ownership interest of

 the Pepsi Entities in any equipment or Personal Property being abandoned.

        4.      Claims arising out of the rejection of Contracts, if any, must be filed on or before

 the later of (i) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

 and (ii) thirty days after the later of (A) the date of entry of this Order approving rejection of the

 applicable Contract, and (b) the Rejection Date. If no proof of claim is timely filed, such claimant

 shall be forever barred from asserting a claim for damages arising from the rejection and from

 participating in any distributions on such a claim that may be made in connection with these

 chapter 11 cases.

        5.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order and the rejection without further order from this Court.

        6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                   Exhibit 1

                               Rejection Schedule
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                                   Exhibit 2

                           Proposed Assumption Notice
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     Ross J. Fiedler (admitted pro hac vice)                  Court Plaza North, 25 Main Street
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     zach.manning@kirkland.com                                Proposed Co-Counsel to the Debtors and
                                                              Debtors in Possession

     Proposed Co-Counsel to the Debtors and
     Debtors in Possession


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors. 1               (Jointly Administered)



                           NOTICE OF ASSUMPTION OF
             CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
 CONTENTS OF THIS NOTICE CAREFULLY.




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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         PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

 related relief [Docket No. ____] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Assumption Notice”), the Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby assumed or assumed and assigned, as applicable, effective as of the date

 (the “Assumption Date”) set forth on Schedule 1, or such other date as the Debtors and the

 counterparty or counterparties to any such Contract agree.

         PLEASE TAKE FURTHER NOTICE that the Debtor or Assignee, as applicable, has

 the financial wherewithal to meet all future obligations under the Contract, thereby demonstrating

 that the Debtor or Assignee, as applicable, has the ability to comply with the requirements of

 adequate assurance of future performance. Evidence of such adequate assurance of future

 performance is included with this Assumption Notice.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 assumption or assumption and assignment of any of the Contracts must file and serve a written

 objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11

 cases and is actually received by the following parties no later than ten days after the date that the

 Debtors filed and served this Notice: (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue,

 2nd Floor, Philadelphia, Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland &


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



                                                         2
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 Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C.,

 Aparna Yenamandra, P.C., Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to

 the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601,

 Attn: Michael D. Sirota, Felice R. Yudkin, and Seth Van Aalten; (d) the applicable Assumption

 Counterparty; (e) counsel to the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind,

 Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 1001 Attn.:

 Andrew      N.      Rosenberg       (arosenberg@paulweiss.com),       Brian     S.      Hermann

 (bhermann@paulweiss.com) and Christopher Hopkins (chopkins@paulweiss.com); (f) counsel to

 the Ad Hoc Secured Noteholder Group, Fox Rothschild LLP, 49 Market Street, Morristown, New

 Jersey, 07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

 (jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com); (g) counsel

 to the DIP Agents, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110,

 Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com);

 and Mark D. Silva (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite

 400, Florham Park, New Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N.

 Pinkas (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for the District of New

 Jersey, One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102,

 Attn:     Jeffrey   M.    Sponder     (jeffrey.m.sponder@usdoj.gov)    and     Lauren    Bielskie

 (lauren.bielskie@usdoj.gov); (i) counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,   Attn:       Adam       Rogoff   (ARogoff@kramerlevin.com)       and     Nancy     Bello

 (nbello@kramerlevin.com) and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,

 Parsippany, NJ 07054, Attn:      Robert LeHane (rlehane@kelleydrye.com) and Connie Choe




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 (cchoe@kelleydrye.com); (j) proposed counsel to the Official Committee of Tort Claimants, Akin

 Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attn: Arik

 Preis (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com), Kate Doorley

 (kdoorley@akingump.com), Theodore James Salwen (jsalwen@akingump.com), and Brooks

 Barker (bbarker@akingump.com); and (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A.,

 457 Haddonfield Rd. #300, Cherry Hill, NJ 08002, Attn;                                Arthur J. Abramowitz

 (aabramowitz@shermansilverstein.com) and Ross Switkes (rswitkes@shermansilverstein.com).

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed the

 Debtors shall file an Assumption Order under a certificate of no objection. The assumption of

 each Contract shall be assumed or assumed and assigned as of the Assumption Date set forth on

 Schedule 1 or such other date as the Debtors and the Assumption Counterparties agree and the

 proposed cure amount shall be binding on all counterparties to such Contract and no amount in

 excess thereof shall be paid for cure purposes. 3

         PLEASE TAKE FURTHER NOTICE that, the proposed cure amount under the Contract

 is set forth on Schedule 1. If a written objection to the proposed cure amount is not timely filed,

 then the cure amount shall be binding on all parties and no amount in excess thereof shall be paid

 for cure purposes.

         PLEASE TAKE FURTHER NOTICE that if an objection to the assumption or

 assumption and assignment of any Contract is timely filed and not withdrawn or resolved, the



 3   An objection to the assumption and/or assignment of any particular Contract or cure amount listed in this
     Assumption Notice shall not constitute an objection to the assumption and/or assignment of any other contract or
     lease listed in this Assumption Notice. Any objection to the assumption and/or assignment of any particular
     Contract or cure amount listed in this Assumption Notice must state with specificity the Contract to which it is
     directed. For each particular Contract whose assumption and/or assignment is not timely or properly objected to,
     such assumption and/or assignment will be effective in accordance with this Assumption Notice and the
     Procedures Order.



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 Debtors shall file a notice for a hearing to consider the objection for the Contract or Contracts to

 which such objection relates. Such Contract will only be deemed assumed or assumed and

 assigned upon entry by the Court of a consensual form of Assumption Order resolving the

 objection as between the objecting party and the Debtors or, if resolution is not reached and/or the

 objection is not withdrawn, upon further order of the Court and shall be assumed or assumed and

 assigned as of the applicable Assumption Date set forth in Schedule 1 or such other date to which

 the Debtors and the applicable Assumption Counterparty agree, or as ordered by the Court.




                                                  5
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Dated: [_____], 2023

                                       COLE SCHOTZ P.C.
                                       Michael D. Sirota, Esq.
                                       Warren A. Usatine, Esq.
                                       Felice R. Yudkin, Esq.
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                                                     joshua.sussberg@kirkland.com
                                                     aparna.yenamandra@kirkland.com
                                                     ross.fiedler@kirkland.com
                                                     zach.manning@kirkland.com

                                       Proposed Co-Counsel to the Debtors and
                                       Debtors in Possession
                                                                          Schedule 1

                                                                    Assumed Contracts


     Assumption              Debtor            Store              Store            Description of            Cure              Assumption
                                                                                                                                                     Assignee
    Counterparty             Party            Number             Address            Contract 1              Amount                Date
                                                                                                                                                                                               Case 23-18993-MBK
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1   The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
    validity of any claims held by the counterparty or counterparties to such Contract.
                                                                                                                                                                                               Desc Main
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                                   Exhibit 1

                           Proposed Assumption Order
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors. 1                      (Jointly Administered)



                      [NUMBER] ORDER APPROVING THE ASSUMPTION
                      OR ASSUMPTION AND ASSIGNMENT OF CERTAIN
                    EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
        The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
        these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 svanaalten@coleschotz.com

 Proposed Co-Counsel to the Debtors and Debtors in Possession




                                                      2
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 (Page |3)
 Debtors:                  RITE AID CORPORATION, et al.
 Case No.                  23-18993 (MBK)
 Caption of Order:         [Number] Order Approving the Assumption or Assumption and
                           Assignment of Certain Executory Contracts and/or Unexpired Leases

         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No.___] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served an Assumption Notice on each

 applicable party as set forth in the Assumption Schedule, attached hereto as Exhibit 1, in

 accordance with the terms of the Procedures Order; and no timely objections having been filed to

 the assumption or assumption and assignment of such Contracts; and due and proper notice of the

 Procedures Order and the Assumption Notice having been provided to each applicable Assumption

 Counterparty as set forth in the Assumption Schedule and it appearing that no other notice need

 be provided; and after due deliberation and sufficient cause appearing therefor, IT IS HEREBY

 ORDERED THAT:

         1.       The Debtors are authorized to assume or assume and assign the Contracts listed on

 Exhibit 1. The Contracts, as amended with the prior consent and written agreement of the

 applicable Assumption Counterparty if applicable, are hereby deemed to be assumed or assumed

 and assigned by the Debtors pursuant to section 365(a) of the Bankruptcy Code.



 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.
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 Debtors:               RITE AID CORPORATION, et al.
 Case No.               23-18993 (MBK)
 Caption of Order:      [Number] Order Approving the Assumption or Assumption and
                        Assignment of Certain Executory Contracts and/or Unexpired Leases

        2.      Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the assignment of

 the Contracts listed on Exhibit 1 shall: (a) be free and clear of (i) all liens (and any liens shall

 attach to the proceeds of such assignment in the same order and priority subject to all existing

 defenses, claims, setoffs, and rights) and (ii) any and all claims (as that term is defined in section

 101(5) of the Bankruptcy Code), obligations, demands, guarantees of or by the Debtors, debts,

 rights, contractual commitments, restrictions, interests, and matters of any kind and nature,

 whether arising prior to or subsequent to the commencement of these chapter 11 cases, and whether

 imposed by agreement, understanding, law, equity, or otherwise (including, without limitation,

 claims, and encumbrances that purport to give to any party a right or option to effect any forfeiture,

 modification, or termination of the interest of any Debtor or Assignee, as the case may be, in the

 Contract(s) (but only in connection with the assignment by the Debtor to the Assignee)); and

 (b) constitute a legal, valid, and effective transfer of such Contract(s) and vest the applicable

 Assignee with all rights, titles, and interests to the applicable Contract(s). For the avoidance of

 doubt, all provisions of the applicable assigned Contract, including any provision limiting

 assignment, shall be binding on the applicable Assignee.

        3.      Subject to the other provisions of this Order, the Debtors are hereby authorized in

 accordance with sections 365(b) and (f) of the Bankruptcy Code to (a) assume and assign to any

 Assignee the applicable Contracts with any applicable Assignee being responsible only for the

 post-assignment liabilities or defaults under the applicable Contracts except as otherwise provided

 for in this Order and (b) execute and deliver to any applicable Assignee such assignment

 documents as may be reasonably necessary to sell, assign, and transfer any such Contract.
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 Debtors:               RITE AID CORPORATION, et al.
 Case No.               23-18993 (MBK)
 Caption of Order:      [Number] Order Approving the Assumption or Assumption and
                        Assignment of Certain Executory Contracts and/or Unexpired Leases

        4.      The Assignee shall have no liability or obligation with respect to defaults relating

 to the assigned Contracts arising, accruing, or relating to a period prior to the applicable

 Assumption Date except as otherwise agreed to between the Assignee and the Debtors.

        5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

 Code, to enter into the consensual amendments as set forth in the Assumption Notice.

        6.      The Debtors are authorized to execute and deliver all instruments and documents

 and take all additional actions necessary to effectuate the relief granted in this Order and the

 assumption without further order from this Court.

        7.      For the avoidance of doubt, with respect to an unexpired lease of nonresidential real

 property, such lease assumption or assumption and assignment shall not be free and clear of, and

 instead shall be subject to: (a) amounts that are unbilled or not yet due as of the Assumption Date,

 regardless of when such amounts accrued, such as common area maintenance, insurance, taxes,

 and similar charges; (b) any regular or periodic adjustment or reconciliation of charges that are not

 due or have not been determined as of the Assumption Date; (c) any percentage rent that may come

 due; (d) indemnification obligations; (e) any unpaid cure amount, calculated in accordance with

 the terms of any applicable amendment or other agreement of the Parties; and (f) agreements that

 run with the land such as REAs and COREAs.

        8.      The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

 Rule 6006(d) is hereby waived.

        9.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.

        .
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                                   Exhibit 1

                              Assumption Schedule
